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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-0946V
                                     Filed: August 3, 2017
                                        UNPUBLISHED


    The Estate of ARNOLD LEE MILLER,
    Decedent, by and through ARMICKA
    S. MILLER, as Personal
    Representative,

                        Petitioner,                          Special Processing Unit (SPU);
    v.                                                       Damages Decision Based on Proffer;
                                                             Influenza (Flu) Vaccine; Guillain-
    SECRETARY OF HEALTH AND                                  Barre Syndrome (GBS)
    HUMAN SERVICES,

                       Respondent.


Isaiah Richard Kalinowski, Maglio Christopher & Toale, PA, Washington, DC, for
       petitioner.
Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On August 5, 2016, petitioner filed a petition as personal representative for the
estate of Arnold Lee Miller for compensation under the National Vaccine Injury
Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner
alleged that the decedent, Arnold Lee Miller, developed Guillain-Barré Syndrome
(“GBS”) resulting in his death which was causally related to the influenza vaccine and
Prevnar 13 pneumococcal conjugate vaccine he received on November 4, 2015. The
case was assigned to the Special Processing Unit of the Office of Special Masters.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On July 31, 2017, a ruling on entitlement was issued, finding petitioner entitled to
compensation for his Guillain-Barré Syndrome and subsequent death. On August 3,
2017, respondent filed a proffer on award of compensation (“Proffer”) indicating
petitioner should be awarded $350,000.00. Proffer at 1. In the Proffer, respondent
represented that petitioner agrees with the proffered award. Based on the record as a
whole, the undersigned finds that petitioner is entitled to an award as stated in the
Proffer.

        Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $350,000.00 in the form of a check payable to
petitioner, Armicka S. Miller, Executrix of The Estate of Arnold L. Miller, Sr.
Payment shall be made when petitioner provides respondent with documentation
establishing her appointment as the Executrix of the Estate of Arnold Lee Miller. Proffer
at 2. “If petitioner is not authorized by a court of competent jurisdiction to serve as the
Executrix of the Estate of Arnold Lee Miller, any such payment shall be made to the
party or parties appointed by the court of competent jurisdiction to serve as legal
representative of the Estate of Arnold Lee Miler, upon submission of written
documentation of such appointment to the Secretary.” Id. This amount represents
compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS


 The Estate of ARNOLD LEE MILLER,
 Decedent, by and through ARMICKA S.
 MILLER, as Personal Representative,

                Petitioner,                           No. 16-946V
                                                      Chief Special Master Dorsey
 v.                                                   ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                Respondent.


           RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On August 5, 2016, Armicka S. Miller (“petitioner”) filed a petition for compensation

(“Petition”) on behalf of the estate of Arnold Lee Miller (“Mr. Miller”), under the National

Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act” or “Act”),

as amended. Respondent’s Rule 4(c) Report, filed on July 31, 2017, conceded that petitioner is

entitled to compensation. In light of respondent’s concession, on July 31, 2017, the special

master found petitioner entitled to compensation.

I.    Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be

awarded $350,000.00, which represents all elements of compensation to which petitioner

would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $350,000.00 in the form of a check payable to Armicka S.

Miller, Executrix of The Estate of Arnold L. Miller Sr. No payment shall be made until
                                               1
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petitioner provides respondent with documentation establishing her appointment as the

Executrix of the Estate of Arnold Lee Miller. If petitioner is not authorized by a court of

competent jurisdiction to serve as the Executrix of the Estate of Arnold Lee Miller, any such

payment shall be made to the party or parties appointed by a court of competent jurisdiction to

serve as legal representative of the Estate of Arnold Lee Miller, upon submission of written

documentation of such appointment to the Secretary. Petitioner agrees.

                                              Respectfully submitted,

                                              CHAD A. READLER
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              CATHARINE E. REEVES
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              ALEXIS B. BABCOCK
                                              Assistant Director
                                              Torts Branch, Civil Division

                                              s/ Jennifer L. Reynaud
                                              JENNIFER L. REYNAUD
                                              Trial Attorney
                                              Torts Branch, Civil Division
                                              U.S. Department of Justice
                                              P.O. Box 146
                                              Benjamin Franklin Station
                                              Washington, D.C. 20044-0146
                                              Tel: (202) 305-1586

Date: August 3, 2017




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